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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,

                               Plaintiff,
                  v.                                       Civil Case No. 19-2761-DDC

 SAMUEL A. GALLAGHER; SIGRID I.
 GALLAGHER; STATE OF KANSAS,
 KANSAS DEPARTMENT OF HEALTH
 AND ENVIRONMENT; and The Unknown
 Heirs, Executors, Administrators, Devisees,
 Trustees, Legatees, Creditors, and Assignees
 of the Deceased Borrower STANLEY S.
 GALLAGHER, et al.,

                               Defendants.

                    ORDER GRANTING STAY OF PROCEEDINGS
                 AND EXTENSION OF TIME TO COMPLETE SERVICE

       The Motion of Plaintiff United States of America for an Order granting stay of proceedings

and extending time to complete service of process is before the Court (ECF No. 10). The Court,

upon review of the file and pleadings, finds as follows:

       1.      The Complaint in this case was filed on December 17, 2019.

       2.      On March 10, 2020, the United States was granted until June 14, 2020, to

complete service (ECF No. 9). To date, service of process has not been completed on all parties.

       3.      The United States initiated this foreclosure action on behalf of the United States

Department of Agriculture (USDA), Rural Development (USDA/RD), which holds the mortgage

on the property that is the subject of this case. On March 19, 2020, USDA/RD, in connection with

the Presidentially declared COVID-19 National Emergency, placed an advisory sixty (60)-day

suspension on the initiation and completion of USDA, Single Family Housing Direct loan
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foreclosure actions brought on behalf of USDA/RD, and on the eviction of persons from properties

secured by USDA Single Family Housing Direct loans, which applies to the instant case.

       4.         The present COVID-19 National Emergency and the USDA/RD’s advisory

suspension of USDA/RD foreclosures as set forth above constitutes good cause to grant a stay of

this case until further order of the Court.

       5.         The United States has shown good cause pursuant to Fed. R. Civ. P. 4(m) to extend

the time equal to the number of days this case is stayed to accomplish service on all defendants.

       IT IS THEREFORE ORDERED that the case is stayed until further order of the Court.

The United States is ordered to file a status report by May 19, 2020.

       IT IS FURTHER ORDERED that, once the stay of the case is lifted, the United States is

granted additional time equal to the number of days this case is stayed to accomplish service on

all defendants.

       IT IS FURTHER ORDERED that any responsive deadlines of those defendants on whom

service of process has already been made and that has not yet expired are extended equal to the

number of days the case is stayed.

         Dated: March 27, 2020                        s/ James P. O’Hara
                                                      JAMES P. O’HARA
                                                      United States Magistrate Judge




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